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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                          FORT PIERCE DIVISION
                      CASE NO. 08-14069-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  MICHAEL EUGENE MANNING,

                Defendant.
  ________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
  February 2, 2009. A Report and Recommendation filed on February 6,
  2009 recommended that the Defendant’s plea of guilty be accepted.
  The Defendant and the Government were afforded the opportunity to
  file objections to the Report and Recommendation, however, none
  were filed. The Court has conducted a de novo review of the entire
  file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Counts One and Two of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 10th
  day of February, 2009.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Steven Logan, AUSA
          David Ham, Esq.
